Case 8:16-cv-03406-SCB-AEP Document 77 Filed 05/05/17 Page 1 of 2 PageID 515




                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   NOBLE SYSTEMS CORP., INC.,


          Plaintiff,


   v.                                                CASE NO. 8:16-cv-03406-SCB-AEP


   AGR FIELD SERVICES, LLC; et al.,


         Defendants.
   __________________________________/


                              NOTICE OF SETTLEMENT
           Pursuant to Middle District of Florida Local Rule 3.08, Defendants AGR Field

    Services, LLC; AGR Group, LLC; All Global Resources LLC; All Global Resources

    L.L.C.; EnergyCare, LLC; Energy Professionals, LLC; Sales Verification Company,

    LLC; Teamworks Marketing, LLC; US Power and Gas, Inc.; Utilities Marketing

    Group, LLC; Utility Sales Management LLC; Utility Sales Management, L.L.C.,

    Quantum Energy Holdings, LLC; Matt Judkin; Herb Zerden; and Adolfo Quintero (the

    “AGR Defendants”) notify the Court that Plaintiff, Noble Systems Corp., and the AGR

    Defendants have reached agreement on the basic terms of a settlement in this
Case 8:16-cv-03406-SCB-AEP Document 77 Filed 05/05/17 Page 2 of 2 PageID 516




    matter. The parties are preparing a formal agreement setting forth the details of their

    settlement and expect to file a stipulation for dismissal with prejudice within 30 days

    of the date of this notice (unless the Court is notified sooner).

                                                  Respectfully submitted,

                                                  THOMAS & LOCICERO PL

                                                  /s/ James B. Lake
                                                  By: James B. Lake
                                                    Florida Bar No. 23477
                                                  601 South Boulevard
                                                  Tampa, FL 33606
                                                  Telephone: (813) 984-3062
                                                  Facsimile: (813) 984-3070
                                                  jlake@tlolawfirm.com

                                                  and

                                                  Jason C. Kravitz (admitted pro hac vice)
                                                  Troy K. Lieberman (admitted pro hac vice)
                                                  NIXON PEABODY LLP
                                                  100 Summer Street
                                                  Boston, MA 02110
                                                  Telephone: (617) 345-1000
                                                  Facsimile: (617) 345-1300
                                                  jkravitz@nixonpeabody.com
                                                  tlieberman@nixonpeabody.com

                                                  Attorneys for AGR Defendants


                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing will be served
   by electronic service through the Clerk of the Court’s CM/ECF filing system. I further
   certify that the foregoing document will be mailed by first class mail, postage prepaid, to
   any parties that do not participate in the CM/ECF filing system.
   Dated: May 5, 2017.


                                                  /s/ James B. Lake
                                                  Attorney

                                                 2
